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IN THE UNITED STATES DISTRICT COURT
EASTERN I)ISTRICT ()F MISSOURI

EASTERN DIVISION
JOHN DOE,
Plaintiff,
Vs.
l\/IIDWEST INSTITUTE FOR MEDICAL Case No.:

ASSISTANTS, INC.,
Jury Trial Demanded
Serue c/o Registered Agerr,t
Christine Shreffler

4260 Shoreline l)r., Ste. 100
Earth City, l\/IO 63045

Defendant.

 

COMPLAINT

NOW COMES the Plaintiff, proceeding under the pseudonym “John Doe,”
pursuant to his contemporaneously-filed Motion for Leave to Proceed under
Pseudonym, and for his Complaint against Defendant Midwest lnstitute for Medical
Assistants, lnc. (“l\/Iidwest lnstitute” or “Defendant”), states as folloWs:

Introduction, Parties, and Claims

l. This is an action brought to enforce Title lll of the Americans With
Disabilities Act of 199(), as amended (“ADA”), 42 U.S.C. §§ 12181-89, and its
implementing regulations, 28 C.F.R. Part 36 (Count I), and for damages under state
law claims for tortious intrusion on seclusion (Count II) and negligent infliction of

emotional distress (Count lll).

 

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2. John Doe is an HlV-positive student currently enrolled in an
associate’s degree program (“the Program”), in a healthcare-related field, at
l\/lidwest lnstitute. l\/lr. Doe has prior Work experience as an emergency dispatcher,
EMT training, and completed two-and-a-half years of a pre-med program at a public
research university in St. Louis, l\/[issouri. l\/lr. Doe is a citizen of the State of
l\/lissouri and resides in St. Louis County, l\/lissouri.

3. Defendant is a for-profit technical college offering associate’s degree
and non-degree undergraduate certificate programs in healthcare-related fields
Defendant is organized as a corporation under the laws of the State of Missouri, and
its principal place of business is located in Earth City, St. Louis County, Missouri.

4. The discrimination against Mr. Doe underlying this lawsuit includes:
(1) Defendant’s denial of the opportunity of Mr. Doe to participate in and benefit
from its services, facilities, privileges, advantages, and accommodations because
l\/lr. Doe is HlV~positiVe; (2) Defendant’s use of standards, criteria, and methods of
administration that have the effect of discrimination on the basis of an individuals
HlV-positive status; and (3) Defendant’s imposition and application of eligibility
criteria that screen out, or tend to screen out, HlV-positive individuals from fully
and equally enjoying Defendant’s services, facilities, privileges, advantages,¢ and

accommodations

 

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Jurisdiction and Venue

5. This Court has jurisdiction over John Doe’s ADA claim (Count l),
pursuant to 28 U.S.C. § 1331, in that this claim arises under federal lavv.

6. This Court has jurisdiction over Mr. Doe’s claims for tortious intrusion
on seclusion (Count ll) and negligent infliction of emotional distress (Count III),
pursuant to 28 U.S.C. § 1367(a), in that these claims are so related to l\/Ir. Doe’s
ADA claim that they form part of the same case or controversy.

7. Venue is proper in the Eastern District of l\/lissouri, pursuant to 28
U.S.C. § 1391(1;))(1), because Defendant resides in this District. Venue is also proper
in this District, under 28 U.S.C. § 1391(b)(2), because a substantial part of the
events and omissions giving rise to l\/_[r. Doe’s claims occurred in this District.

Allegations Common to All Counts

8. On or about June 13, 2017, John Doe enrolled as a student in the
Program, and Defendant gave Mr. Doe numerous orientation and policy documents,
including statements of Defendant’s expectations of students in the Program and
Defendant’s attendance policy.

9. None of the orientation materials given by Defendant to Mr. Doe
indicated that he had any obligation to disclose his l-llV-positive status or that an
HlV-positive student Would be unable to successfully complete the Program or
participate in any of Defendant’s services

1(). The approximate cost of tuition for the Program Was $38,076.00.

 

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11. l\/lr. Doe paid all tuition, fees, and costs as required by Defendant and
began attending classes on or about July 17, 2017.

12. While attending the program in 2017, lVlr. Doe completed all required
coursework without issue and developed positive professional and working
relationships with his instructor and classmates.

13. Due to his involvement in competitive sports, l\/lr. Doe was occasionally
unable to attend classes due to competition-related travel. However, l\/[r. Doe’s
instructor never took any issue with this, and Mr. Doe completed required make-up
assignments and classwork as directed by his instructor.

14. l\/lr. Doe was never disciplined or counseled regarding his absences

15. As Mr. Doe continued to progress in the Program, in 20-18, l\/[r. Doe
began attending more specialized, surgical technology-focused courses taught by a
different instructor, l\/lichelle Link.

16. At all relevant times, l\/ls. Link was an agent and employee of
Defendant, acting within the course and scope of her employment

17. lnitially, l\/lr. Doe’s experience in the Program did not change as he
began attending the courses taught by l\/ls. Link.

18. On or about January 29 and/or 30, 2018, l\/lr. Doe was admitted to the
emergency room, believing that he had contracted pneumonia. l\/lr. Doe was treated
and discharged, and the treating physician advised that he could return to class.

19. On or about February l,` 2018, when Mr. Doe returned to classes at

Midwest Institute, he Was confronted by Ms. Link about his recent absence.

 

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20. l\/ls. Link stated that l\/lr, Doer absences were uncharacteristic of his
attendance record, and she asked him to explain himself

21. Mr. Doe stated that he had been very ill, but Ms. Link Was unsatisfied
With this explanation and demanded a record from the emergency room in order to
allow l\/lr. Doe to return to class.

22. Although Mr. Doe repeatedly stated that he did not feel comfortable
discussing his health with l\/ls. Link, Ms. Link stated that l\/lr. Doe was required to
provide Ms. Link with a medical record related to his absence.

23. When l\/lr. Doe reluctantly produced a medical record from the hospital,
l\/ls. Link continued to interrogate l\/.[r, Doe about his health and specifically asked
him about medications identified in the medical record.

24. Feeling extremely pressured by l\/ls. Link’s interrogation, Mr. Doe
finally stated that he was HlV-positive.

25. Upon learning of l\/lr. Doe’s HlV-positive status, l\/[s. Link responded
with visible disgust and made a number of discriminatory, harassing, and offensive
statements to l\/lr. Doe, including that: n

a. He would probably be unable to complete the Program due to his HIV-
positive status,'

b. He would probably be terminated from the Program due to his HIV-
positive status;

c. He should not discuss his HlV~positive status with anyone ;

d. ln order to have any chance of remaining in the Program, he must
immediately produce a letter from a physician explaining his medical
condition and expressing the opinion that he does not have a
“communicable disease”;

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e. He Would be terminated from the Program immediately if any test
indicated that he had a “communicable disease”;

f. He would pose a risk to any patients that he worked around;

g. He would be incapable of employment in healthcare because he has a
“highly contagious” and “chronic” virus; and

h. Even if he is not terminated from the Program, he will need to be
“better” than all of his peers to ever have an opportunity of
employment in healthcare_because “no one is going to want to hire
someone with HIV.”

26. Mr. Doe Was shocked and humiliated as a result of l\/ls. Link’s
statements, and he experienced medically-diagnosable, severe anxiety and
emotional distress, for which he later underwent treatment

27. Shortly after his meeting With l\/ls. Link, l\/lr. Doe consulted with the
specialist physician treating his HlV»positive condition and explained l\/ls. Link’s
request for a written opinion that he did not have a “communicable disease.”

28. l\/lr. Doe’s physician opined that there Was no reasonable, medical basis
for Ms. Link’s request, that the request seemed patently discriminatory, and that
the physician could not prepare a letter without further explanation

29. When Mr. Doe returned to classes, he asked l\/ls. Link to provide a
written explanation for the requested physician’s letter, as well as an explanation
for the basis for his potential termination from the Program.

30. On or about February 19, 2018, Ms. Link provided Mr. Doe With a

document titled “Communicable Disease Policy,” a copy of which is attached hereto

and marked as “Exhibit A.” l\/ls. Link stated that this Policy was the basis for her

 

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request for the physician’s letter, and she falsely stated that the Policy was included
with the original orientation materials provided to l\/.[r. Doe upon enrollment
31. Defendant’s “Communicable Disease Policy” is discriminatory and is
not supported by any rational basis. ln fact, the U.S. Department of Justice has
mandated that for “occupational training and licensing requirements the terms
‘infectious, communicable, or contagious disease’ must exclude diseases, such as
HIV, not transmitted through casual contact or through the usual practice of the
occupation for which a license is required.”1
32. Ms. Link continued to make discriminatory, harassing, and offensive
statements to l\/lr. Doe and to threaten his termination from the Program, including,
on or about February 21, 2018, by falsely stating that l\/lr. Doe would receive an “F”
on a major assignment because a “virus” was detected in the file he submitted
33. By this point, Mr. Doe began to recognize that Ms. Link’s statements
and conduct was damaging his professional and personal relationships with his
classmates. l\/ls. Link’s conduct in front of l\/Ir. Doe’s classmates included:
a. lnexplicably referring to l\/lr. Doe as “fatty” in front of classmates;
b. Stating, in front of the class, that Mr. Doe may not be eligible to
participate in an “externship” or “clinical,” which is a requirement for

completion of the Program;

c. Calling l\/lr. Doe to the front of the classroom to hand him documents
and stating that he had “health issues” and “health problems”;

 

1 U.S. Dep’t of Justice, Civil Rights Division, Questions and Answers: The
Americans with Disabilities Act and the Rights of Persons with HIV/AIDS to Obtcr,in
Occupational Train.ing and Sto',te Licensing,
https://www.ada.gov/qahivaids_license.pdf (last accessed Mar. 26, 2018) (emphasis
added).

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d. lssuing l\/[r. Doe an attendance report, reflecting his health-related
absences, in front of his classmates and demanding that he
immediately review and return it; and

e. Discussing and making references to l\/lr. Doe’s medical condition in
public areas, Where l\/ls. Link’s statements may have been overheard
by third~persons.

34. l\/[s. Link’s conduct was intended to harass and humiliate Mr. Doe,
because he is HlV-positive, into withdrawing from the Program.

35. Mr. Doe repeatedly attempted to address l\/ls. Link’s conduct with
l)efendant, both through his attorney and by personally contacting Defendant’s
Director of Education, Amy Pandolfo.

36. At all relevant times, l\/ls. Pandolfo was an agent and employee of
Defendant, acting within the course and scope of her employment

37. After being made aware of Ms. Link’s conduct, Ms. Pandolfo declined
to take any action to discipline l\/[s. Link or clarify any of Defendant’s policiesl

38. Ms. Pandolfo instructed l\/lr. Doe to refrain from discussing l\/ls. Link’s
conduct unless Ms. Pandolfo was present

39. l\/ls. Pandolfo falsely informed l\/lr. Doe that she had discussed the
matter with l\/lr. Doe’s attorney and that she had provided his attorney with all
requested information

40. l\/ls. Pandolfo’s conduct was intended to harass and humiliate l\/lr. Doe,

because he is HlV-positive, into withdrawing from the Program.

 

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41. As a result of Defendant’s conduct, Mr. Doe has felt dehumanized and
humiliated and continues to experience medically-diagnosable anxiety and

emotional distress

M
Title III of the Americans with Disabilities Act

42. The allegations of Paragraphs 1 through 41 are hereby re-alleged and
incorporated by reference, as if fully set forth herein.

43. John Doe is an individual with a disability within the meaning of 42
U.S.C. § 12102(1), pursuant to 28 C.F.R. §§ 36.105(b)(2), (d)(2)(iii)(¢]).

44. Defendant is a public accommodation within the meaning of 42 U.S.C.
§ 12181(7).

45. Defendant discriminated against John Doe on the basis of his
disability in the full and equal enjoyment of its services, facilities, privileges,
advantages, and accommodations, in violation of Title Ill of the ADA, 42 U.S.C. §
12182(a), and the implementing regulations at 28 C.FR Part 36, by:

a7 Denying l\/lr. Doe, because he is HlV-positive, the opportunity to
participate in and benefit from Defendant’s services, facilities,
privileges, advantages, and accommodations by threatening to

terminate him from the Program, in violation of 42 U.S.C. §
12182(b)(1)(A)(i) and 28 C.F.R. § 36.202;

b. Using standards, criteria, and methods of administration_including
the use of the “Communicable Disease Policy” and Defendant’s
attempts to discourage l\/lr. Doe’s continued enrollment_that have the
effect of discrimination on the basis of an individual’s l-llV~positive
status, in violation of 42 U.S.C. § 12182(b)(1)(D) and 28 C.F.R. §
36.204; and

c. lmposing and applying eligibility criteria_including the use of the
“Communicable Disease Policy” and Defendant’s attempts to

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discourage l\/lr. Doe’s continued enrollment-that screen out, or tend to
screen out, HlV-positive individuals from fully and equally enjoying
Defendant’s services, facilities, privileges, advantages, and
accommodations, in violation of 42 U.S.C. § 12182(b)(2)(A)(i) and 28
C.F,R. § 36.301(a).

46, This Court has authority, pursuant to 28 C.F.R. §36.501(a), to award
l\/lr. Doe preventive relief, including a permanent or temporary injunction or
restraining order.

47. Without preventive relief, l\/lr. Doe is in danger of being terminated
from the Program, forfeiting tuition and expenses paid to Defendant, and being
denied the opportunity to participate in a clinical and/or externship program or
other course as required for graduation and as necessary to become a competitive
candidate for employment

48. This Court has authority to award l\/lr. Doe his reasonable attorney’s
fees, litigation expenses, and costs pursuant to 42 U.S.C. §12205.

49. As a direct and proximate result of Defendant’s conduct, l\/lr. Doe has
incurred attorney’s fees, litigation expenses, and costs to prosecute his ADA claim.

WHEREFORE, for the foregoing reasons, Plaintiff John Doe respectfully
requests that this Court enter a judgment in his favor and against Defendant
l\/lidwest Institute for l\/ledical Assistants, lnc. on Count l of his Complaint, and
award the following relief:

(a) Enjoin Defendants, its officers, agents, employees, and all other in

concert or participation with it, from engaging in discrimination against individuals

 

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with disabilities, and specifically from failing to comply with Title lll of the ADA, 42
U.S.C; §§ 12181-89, and its implementing regulations, 28 C.F.R. Part 36;

Cb) Order Defendant to comply with the requirements of rl`itle lll of the
ADA, 42 U.S,C, §§ 12181-89, land its implementing regulations, 28 C.F.R. Part 36;

(c) Order Defendant to take such affirmative steps as may be necessary to
restore, as nearly as practicable, l\/lr. Doe to the position that he would have been in
but for Defendant’s conduct;

(d) Award Mr. Doe his reasonable attorney’s fees, litigation expenses, and
costs herein expended; and

(e) Order such other appropriate relief as the interest of justice require.

PLAINTIFF DEBMNDS A TRIAL BY JURY.

M
Tortious Intrusion on Seclusion

50. The allegations of Paragraphs 1 through 49 are hereby re-alleged and
incorporated by reference, as if fully set forth herein.

51. At all relevant times, John Doe was entitled to a right of privacy in his
health information, medical history, and HlV-positive status.

52. Defendant intentionally intruded upon the private, personal affairs of
l\/lr. Doe in an unreasonable and highly offensive manner, including by:

a. Demanding information about l\/lr. Doe’s admission to the hospital
while he was absent from class for two days, under threat of
terminating him from the Program;

b. Demanding access to l\/lr. Doe’s medical records to review treatment he

underwent while absent from class for two days, under threat of
terminating him from the Program;

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c. Demanding information about the reason that l\/lr. Doe was prescribed
medications listed in his medical records under threat of terminating
him from the Program; and

d. Demanding personal, private, and intimate details about l\/lr. Doe’s
HlV-positive status and medical history, without any legitimate
grounds

53. As a direct and proximate result of Defendant’s conduct, l\/.[r. Doe has
suffered damages including for medical bills and expenses and for medically-
diagnosable anxiety and emotional distress

WHEREFORE, for the foregoing reasons, Plaintiff John Doe respectfully
requests that this Court enter a judgment in his favor and against Defendant
l\/lidwest lnstitute for l\/ledical Assistants, lnc. on Count ll of his Complaint, and
award the following relief:

(a) Award Mr. Doe compensatory damages in an amount in excess of
$75,000, sufficient to compensate him for medical bills, expenses and emotional
distress suffered as a result of Defendant’s conduct;

(b) Award Mr. Doe his litigation expenses and costs herein expended; and

(c) Order such other appropriate relief as the interest of justice require.

PLAINTIFF DE]\MNDS A TRIAL BY JURY.

COUNT III
Negligent Infliction of Em.otional Distress

54. The allegations of Paragraphs 1 through 53 are hereby re~alleged and

incorporated by reference, as if fully set forth herein.

 

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55. At all relevant times, Defendant owed John Doe a duty to exercise
ordinary care to protect the privacy of his educational records including medical
information disclosed to Defendant, as well as to refrain from unreasonable or
offensive conduct in the administration of its policies, the supervision and discipline
of instructors, and the instruction of courses at its facilities

56. Defendant breached its duty to l\/lr. Doe by:

a. Falsely telling l\/lr. Doe that his HlV-positive status would prevent him
from completing the Program;

b. Threatening to terminate l\/lr. Doe from the Program due to his l-IIV-
positive status;

c. Falsely telling l\/lr. Doe, based on his HlV-positive status, that he was
required to produce a letter from a physician explaining his medical
condition and expressing the opinion that l\/lr. Doe does not have a
“communicable disease”;

d. Falsely telling Mr. Doe that he poses a risk to patients;

e. Falsely telling Mr. Doe that he would be incapable of becoming
employed in the medical field because he has a “highly contagious” and
“chronic” virus;

f. Falsely telling l\/lr. Doe that “no one is going to want to hire someone

with l-IIV”;

g. Falsely stating, in front of a room of students that l\/lr. Doe may not be
eligible to participate in an externship or clinical course, which is a
requirement for completion of the Program;

h. Discussing and making references to l\/lr. Doe’s medical condition in
public areas, where statements could be overheard by other students;

i. Failing to inform, train, andfor advise its instructors and faculty about
common disabilities including HlV, as reasonably necessary to avoid
making misinformed, bigoted, ignorant, and highly offensive
statements to students with disabilities;

 

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j. Failing to train its instructors and faculty in the administration of
Defendant’s “Comrnunicable Disease Policy” and/or attendance policy
so as to avoid the unnecessary and highly offensive intrusion upon
students’ privacy; and/or by

k. Failing to supervise its instructors and faculty in the administration of
Defendant’s “Communicable Disease Policy” and/or attendance policy
so as to avoid the unnecessary and highly offensive intrusion upon
students’ privacy.

57. Defendant knew or reasonably should have known that its conduct
involved an unreasonable risk of causing l\/lr. Doe to experience emotional distress

58. As a direct and proximate result of Defendant’s conduct, l\/[r. Doe has
suffered damages including for medical bills and expenses and for medically-
diagnosable anxiety and emotional distress

WHEREFORE, for the foregoing reasons, Plaintiff John Doe respectfully
requests that this Court enter a judgment in his favor and against Defendant
l\/lidwest lnstitute for l\/ledical Assistants, lnc. on Count lll of his Complaint, and
award the following relief:

(a) Award Mr. Doe compensatory damages in an amount in excess of
875,000, sufficient to compensate him for medical bills, expenses, and emotional
distress suffered as a result of Defendant’s conduct;

(b) Award Mr. Doe his litigation expenses and costs herein expended; and

(c) Order such other appropriate relief as the interest of justice require.

PLAINTIFF DEI\MNDS A TRIAL BY JUR Y.

 

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Respectfully suhmitted7

MARTIN LElGl-l PC

/s/ Adam A. Field
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“John Doe”

 

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COMN!UNICABLE DISEASE POLICY

§

Any student who has or contracts a communicable disease as so stated by a
physician will be dismissed from theory and clinical with an excused absence

Make-up work will he assigned on an individual basis
All theory and clinical work must be made up; i.e. test, assignments and quizzes.

lt is the students’ responsibility to request make up work and to keep up with
what he/She has missed

Re-cntry is contingent on a signed physicians’ statement stating the student is no
longer communicable-

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